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                          UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF COLUMBIA

_________________________________
                                  )
UNITED STATES OF AMERICA,         )
                                  )
           v.                     )                 Civil Action No. 13-CR-0244 (KBJ)
                                  )
WESLEY HAWKINS,                   )
                                  )
                 Defendant.       )
_________________________________ )


                                             ORDER

        In a hearing before Magistrate Judge John M. Facciola on September 5, 2013,

Defendant Wesley Hawkins entered a plea of guilty. On that date, the magistrate judge issued

a Report and Recommendation advising the Court to accept Defendant’s plea. The Court has

received no objection to the Report and Recommendation. See LCrR 59.2(b) (“Any party may

file for consideration by the district judge written objections to the magistrate judge’s proposed

findings and recommendations . . . within fourteen (14) days after being served with a copy

thereof.”) Accordingly, the Courts hereby ADOPTS the recommendation of the magistrate

judge and accepts Defendant’s guilty plea.

        In addition, a sentencing hearing for Defendant is currently scheduled for

November 21, 2013. The Court hereby ORDERS that any memoranda in aid of

sentencing shall be filed by November 7, 2013, and any responses by November 14,

2013.

        SO ORDERED.

                                                    Ketanji Brown Jackson
                                                    KETANJI BROWN JACKSON
                                                    United States District Judge
DATE: October 3, 2013
